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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                      DECISION AND ORDER
                                                                   11-CR-194S
TRAMELL McGEE,

                     Defendant.


       Presently before this Court is Defendant Tramell McGee’s motion for release to

home confinement, which the government opposes. (Docket Nos. 231, 234.) McGee

seeks an order compelling the United States Bureau of Prisons to release him to home

confinement on February 4, 2020, when, by his estimation, he will have 10% of his 48-

month aggregate sentence left to serve.

       McGee contends that his release in the manner requested is required under

Section 602 of the First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, 5222

(2018) (“the First Step Act” or “the Act”). Section 602 amended 18 U.S.C. § 3624 (c)(2)

to add the italicized provision below:

              Home confinement authority.—The authority under this
              subsection may be used to place a prisoner in home
              confinement for the shorter of 10 percent of the term of
              imprisonment of that prisoner or 6 months. The Bureau of
              Prisons shall, to the extent practicable, place prisoners with
              lower risk levels and lower needs on home confinement for
              the maximum amount of time permitted under this paragraph.

18 U.S.C. § 3624 (c)(2).

       McGee’s motion must be denied for several reasons. First, in challenging the

Bureau of Prisons’ execution of his sentence, McGee’s request for relief is properly


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construed under 28 U.S.C. § 2241. See Adams v. United States, 372 F.3d 132, 135 (2d

Cir. 2004) (“Section 2241[ ] is the proper means to challenge the execution of a sentence

. . . In a § 2241 petition, a petitioner may seek relief from such things as, for example, the

administration of his parole, computation of his sentence by parole officials, disciplinary

actions taken against him, the type of detention, and prison conditions in the facility where

he is incarcerated.”) (emphasis in original). But a § 2241 petition must be filed in the

judicial district with jurisdiction over the inmate’s current custodian. See Rumsfeld v.

Padilla, 542 U.S. 426, 434-35, 124 S. Ct. 2711, 159 L. Ed. 2d 513 (2004); see also 28

U.S.C. §§ 2242, 2243.        Because McGee is incarcerated at the McKean Federal

Correctional Institution in Pennsylvania, this Court lacks jurisdiction over his motion.

       Second, even if this Court had proper jurisdiction, McGee is not correct that § 602

of the Act requires his release or authorizes a district court to order the Bureau of Prisons

to release a given defendant to home confinement.            Rather, “it is [the Bureau of

Prisons]—not the courts—who decides whether home detention is appropriate.” United

States v. Yates, Case Nos. 15-40063-01-DDC, 2019 WL 1779773, at *4 (D. Kan. Apr. 23,

2019); see also United States v. Burkhart, No. 6:03-036-DCR, 2019 WL 615354, at *2

(E.D.Ky. Feb. 13, 2019) (finding that the First Step Act “did not modify the requirement

that the Bureau of Prisons, not the Court, make the decision to place a prisoner on home

confinement or in a residential re-entry center”).       And “[r]ather than mandate any

particular home confinement decision, Congress instead directed BOP to place prisoners

on home confinement “to the extent practicable.” Yates, 2019 WL 1779773, at *4. In

other words, § 602 does not disturb the statutory discretion afforded the Bureau of

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Prisons. See 18 U.S.C. § 3624 (c)(2) (“The authority under this subsection may be used

. . .”).

           Third, McGee’s motion is moot. According to Bureau of Prisons records supplied

by the government, McGee has a home confinement assignment date of February 5,

2020. (Docket No. 234-1, p. 2.) Although off by one day, this is the entirety of the relief

McGee seeks. His motion is therefore moot.

           For all of these reasons, McGee’s motion is denied.



           IT HEREBY IS ORDERED, that the motion for release to home confinement

(Docket No. 231) is DENIED.



Date: January 31, 2020
      Buffalo, NY


                                                     s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                   United States District Judge




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